     Case 23-01092-MBK              Doc 87      Filed 04/24/23 Entered 04/24/23 10:42:35           Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                           Order Filed on April 24, 2023
                                                                           by Clerk
                                                                           U.S. Bankruptcy Court
                                                                           District of New Jersey




                                                              Adv. No.:              23-01092

                                                              Case No.:    ______________________
                                                                                  23-12825
  In Re:

  LTL Management LLC                                          Chapter:     ______________________
                                                                                     11
  vs.
  Those Parties Listed on Appendix A to the                   Judge:       ______________________
                                                                              Michael B. Kaplan
  Complaint and John and Jane Does 1-1000, et al.



                              ORDER SHORTENING TIME PERIOD FOR NOTICE,
                                SETTING HEARING AND LIMITING NOTICE


      The relief set forth on the following pages, numbered two (2) and three (3), is hereby ORDERED.




DATED: April 24, 2023
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       After review of the application of ________________________________________
                                                        Donald Clarke              for the reduction of
time for a hearing on _________________________________________________________________________
                       Motion for Request for Certification of Direct Appeal to Circuit Court
__________________________________________________________under Fed. R. Bankr. P. 9006(c)(1), it is

       ORDERED as follows:

       1. A hearing will be conducted on the matter on _______________________________
                                                                 May 9, 2023           at __________
                                                                                           11:30 am in
the United States Bankruptcy Court, ____________________________________________________________,
                                            402 East State Street, Trenton, New Jersey 08608
Courtroom No.      8     .

       2. The Applicant must serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
 Plaintiff, Plaintiff's Attorney, Defendant's Defendants' Attorney and US Trustee

____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       3. The Applicant must also serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       4. Service must be made:

            ☐ on the same day as the date of this order, or

            ☐ within ________ day(s) of the date of this Order.


       5. Notice by telephone:

             ☐ is not required

             ☐ must be provided to ________________________________________________________

                   ☐ on the same day as the date of this Order, or

                   ☐ within _________ day(s) of the date of this Order.


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  6. A Certification of Service must be filed prior to the hearing date.


  7. Any objections to the motion/application identified above:

       ☐ must be filed with the Court and served on all parties in interest by electronic or overnight mail
       __________ day(s) prior to the scheduled hearing; or

       ☐ may be presented orally at the hearing.


  8.   ☐ Court appearances are required to prosecute the motion/application and any objections.

       ☐ Parties may request to appear by phone by contacting Chambers prior to the return date.




                                                                                                    rev.1/12/22



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